 Case: 1:16-cv-08637 Document #: 3890 Filed: 10/19/20 Page 1 of 8 PageID #:262724




                       UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS



 IN RE BROILER CHICKEN ANTITRUST
 LITIGATION                                  Case No. 1:16-cv-08637

                                             Hon. Thomas A. Durkin
 This Document Relates To:
 Direct Purchaser Actions                    Magistrate Judge Jeffrey T. Gilbert




 JOINT STATUS REPORT REGARDING FINAL APPROVAL AND THE STATUS OF
PARTIAL ASSIGNMENTS RELATING TO THE DIRECT PURCHASER PLAINTIFFS
CLASS SETTLEMENTS WITH DEFENDANTS PECO FOODS, INC., GEORGE’S, INC.,
            GEORGE’S FARMS, INC., AND AMICK FARMS, LLC




942613.3                                1
 Case: 1:16-cv-08637 Document #: 3890 Filed: 10/19/20 Page 2 of 8 PageID #:262725




           On September 11, 2020 the Court granted the stipulation of the parties (ECF No. 3825),

and continued the hearing on Direct Purchaser Plaintiffs’ (“DPPs”) Motion for Final Approval of

Settlements With Defendants Peco Foods, Inc., George’s, Inc., George’s Farms, Inc., and Amick

Farms, LLC (collectively, “Settling Defendants”) from September 14, 2020 to October 26, 2020

(“Order”) (ECF No. 3826).

           The purpose of the Order was to permit the DPPs, the Settling Defendants, and counsel

for partial assignees to resolve issues relating to the Settling Defendants’ memorandum regarding

the treatment of requests for exclusion from the Settlement Class for partially assigned claims

(“Settling Defendants’ Brief”). (ECF No. 3795.) 1 In that memorandum, the Settling Defendants

had stated that they had no objection to requests for exclusion from partial assignees where there

was an agreement regarding the amount of purchases subject to the assignment and covered by

the request for exclusion, which amount would then be used to calculate the Reduction for Opt-

Outs under the Settlement Agreements. The Settling Defendants asserted that is because, where

“the Parties stipulated to the value of the assigned claims, there is no possibility of confusion or

multiple recoveries.” Settling Defendants’ Brief at 10.

           Pursuant to the Order, the Settlement Administrator received requests for information

about the calculation of the purchases associated with its partial assignment from twelve groups



           1
               The scenario at issue is described in the Settling Defendants’ brief as follows:
                     A direct purchaser of Broilers (e.g., a distributor) sells to multiple customers. The
                     direct purchaser did not request exclusion from the class, and thereby is a Settling
                     Class Member. However, one of the direct purchaser’s customers asserts that it
                     has been given an assignment of claims from the direct purchaser, limited to
                     claims arising from the purchase of Broilers re-sold to that particular indirect
                     purchaser/assignee. The assignee requests exclusion from the class as to those
                     partially assigned claims.
           Settling Defendants’ Brief at 3.

942613.3                                               2
 Case: 1:16-cv-08637 Document #: 3890 Filed: 10/19/20 Page 3 of 8 PageID #:262726




of partial assignees. 2 Counsel for DPPs provided these groups with a calculation of the value of

their partially assigned claims. Counsel for these groups responded as contemplated by the

Order. In instances where there was disagreement with the value provided by Counsel for DPPs,

Counsel for those partial assignees provided their alternative calculations and supporting data.

           The parties have now resolved their dispute and have reached an agreement with all

affected partial assignees except for Ahold Delhaize, for purposes of the DPP settlements with

the Settling Defendants, 3 regarding the amount of purchases subject to the assignment and

covered by the request for exclusion. Accordingly, the Settling Defendants’ prior objections to

the requests for exclusion made by these assignees are moot, and the Settling Defendants

withdraw their objections as to these assignees.

           Negotiations are still ongoing with Ahold Delhaize, which is awaiting the production of

data necessary to calculate the purchases associated with its partial assignment from its assignor,

C&S Wholesale. The reason for this delay is that C&S Wholesale was previously incorrectly

included as an opt-out from the settlements in a request for exclusion listed by another entity.

Once Ahold Delhaize learned C&S Wholesale was no longer an opt out, Ahold Delhaize

requested data necessary to calculate the purchases associated with its partial assignments. The

data is expected to be received today and the parties have agreed to continue to meet and confer




           2
        These partial assignees are the following entities: Independent Purchasing Cooperative,
Inc.; Winn-Dixie Stores, Inc. and Bi-Lo Holdings, LLC; Boston Market and Smokey Bones; OSI
Restaurant Partners, LLC; El Pollo Loco, Inc.; Checkers Drive-In Restaurants Inc.; Restaurants
of America, Inc.; Gibson, Greco & Wood, Ltd.; Bob Evans Farms, Inc.; The Fresh Market, Inc.;
Wawa, Inc.; Cajun Operating Company d/b/a Church’s Chicken; Restaurant Services, Inc. (as
purchasing agent for Burger King); Hy-Vee, Inc.; BJ’s Wholesale Club, Inc.; Ahold Delhaize;
Restaurant Supply Chain Solutions (RSCS); and Quality Supply Chain Co-op (QSCC).
           3
         The agreements apply only to claims against the Settling Defendants, and all parties
reserve their rights as to claims against other Defendants.

942613.3                                           3
 Case: 1:16-cv-08637 Document #: 3890 Filed: 10/19/20 Page 4 of 8 PageID #:262727




regarding the purchases associated with the partial assignment for Ahold Delhaize. The parties

expect to have this final matter resolved this week.

           Once all disputes regarding partial assignments and opt outs have been resolved, DPPs

will file an amended proposed order granting final approval to the settlements with the Settling

Defendants. In light of the substantial progress made on these issues the DPPs, the Settling

Defendants, and counsel for the Direct Action Plaintiffs listed below believe that it is appropriate

to proceed with the hearing on final approval on October 26, 2020 as currently scheduled.

 Date: October 19, 2020

 /s/ Bobby Pouya                                   W. Joseph Bruckner
 Clifford H. Pearson                               Brian D. Clark
 Bobby Pouya                                       Simeon A. Morbey
 Michael H. Pearson                                LOCKRIDGE GRINDAL NAUEN P.L.L.P.
 PEARSON SIMON & WARSHAW, LLP                      100 Washington Avenue South, Suite 2200
 15165 Ventura Boulevard, Suite 400                Minneapolis, MN 55401
 Sherman Oaks, CA 92403                            Telephone: (612) 339-6900
 Telephone: (818) 788-8300                         Facsimile: (612) 339-0981
 Facsimile: (818) 788-8104                         wjbruckner@locklaw.com
 cpearson@pswlaw.com                               bdclark@locklaw.com
 bpouya@pswlaw.com                                 samorbey@locklaw.com
 mpearson@pswlaw.com
                                                   Direct Purchaser Plaintiffs Interim Co-Lead
 Bruce L. Simon                                    Class Counsel
 PEARSON, SIMON & WARSHAW, LLP
 350 Sansome Street, Suite 680                     Steven A. Hart (#6211008)
 San Francisco, CA 94104                           Brian Eldridge (#6281336)
 Telephone: (415) 433-9000                         John Marrese (#6306516)
 Facsimile: (415) 433-9008                         Kyle Pozan (#6306761)
 bsimon@pswlaw.com                                 HART MCLAUGHLIN & ELDRIDGE, LLC
                                                   22 West Washington Street, Suite 1600
                                                   Chicago, IL 60602
                                                   Telephone: (312) 955-0545
                                                   Facsimile: (312) 971-9243
                                                   shart@hmelegal.com
                                                   beldridge@hmelegal.com
                                                   jmarrese@hmelegal.com
                                                   kpozan@hmelegal.com

                                                   Direct Purchaser Plaintiffs Liaison Counsel

942613.3                                          4
 Case: 1:16-cv-08637 Document #: 3890 Filed: 10/19/20 Page 5 of 8 PageID #:262728




 By: /s/ William L. Greene                     By: /s/ Boris Bershteyn
 STINSON LLP                                   SKADDEN, ARPS, SLATE,
                                                MEAGHER & FLOM LLP
 William L. Greene (admitted pro hac vice)
 Peter J. Schwingler (admitted pro hac vice)   Patrick Fitzgerald (#6307561)
 Kevin P. Kitchen (admitted pro hac vice)      Gail Lee
 50 South Sixth Street, Ste 2600               Peter Cheun
 Minneapolis, MN 55402                         155 N. Wacker Drive
 Telephone: (612) 335-1500                     Chicago, IL 60606
 william.greene@stinson.com                    Telephone: (312) 407-0700
 peter.schwingler@stinson.com                  Facsimile: (312) 407-0411
 kevin.kitchen@stinson.com                     patrick.fitzgerald@skadden.com
                                               gail.lee@skadden.com
 J. Nicci Warr                                 peter.cheun@skadden.com
 7700 Forsyth Blvd., Suite 1100
 St. Louis, MO 63105                           Boris Bershteyn (admitted pro hac vice)
 Telephone: (314) 259-4570                     Lara Flath (#6289481)
 nicci.warr@stinson.com                        One Manhattan West
                                               New York, NY 10001
 THE LAW GROUP OF NORTHWEST                    Telephone: (212) 735-3000
 ARKANSAS LLP                                  Facsimile: (212) 735-2000
 Gary V. Weeks (admitted pro hac vice)         boris.bershteyn@skadden.com
 K.C. Dupps Tucker (admitted pro hac vice)     lara.flath@skadden.com
 Kristy E. Boehler (admitted pro hac vice)
 1830 Shelby Lane                              Attorneys for Defendant Peco Foods, Inc.
 Fayetteville, AR 72704
 Telephone: (479) 316-3760
 gary.weeks@lawgroupnwa.com
 kc.tucker@lawgroupnwa.com
 kristy.boehler@lawgroupnwa.com

 Attorneys for Defendants George’s, Inc.
 and George’s Farms, Inc.

                                               DYKEMA GOSSET PLLC

                                               By: /s/ Howard B. Iwrey
                                               Howard B. Iwrey
                                               39577 Woodward Ave, Ste. 300
                                               Bloomfield Hills, MI 48304
                                               Telephone: 248-203-0526
                                               Facsimile: 248-203-0763
                                               hiwrey@dykema.com



942613.3                                       5
 Case: 1:16-cv-08637 Document #: 3890 Filed: 10/19/20 Page 6 of 8 PageID #:262729




                                               Steven H. Gistenson
                                               10 South Wacker Drive, Ste. 2300
                                               Chicago, IL 60606
                                               Telephone: 312-627-2267
                                               Facsimile: 312-876-1155
                                               sgistenson@dykema.com

                                               Cody D. Rockey
                                               2723 South State Street, Ste. 400
                                               Ann Arbor, MI 48104
                                               Telephone: 734-214-7655
                                               Facsimile: 734-214-7696
                                               crockey@dykema.com
                                               Dante A. Stella
                                               400 Renaissance Center
                                               Detroit, MI 48243
                                               Telephone: 313-568-6693
                                               Facsimile: 313-568-6893
                                               dstella@dykema.com

                                               Attorneys for Defendant Amick Farms, LLC

 /s/ Judith A. Zahid                           /s/ Jay B. Shapiro
 Judith A. Zahid                               Jay B. Shapiro (Admitted pro hac vice)
 Eric W. Buetzow                               Samuel O. Patmore (Admitted pro hac vice)
 ZELLE LLP                                     Carlos J. Canino (Admitted pro hac vice)
 44 Montgomery Street, Suite 3400              Abigail G. Corbett (Admitted pro hac vice)
 San Francisco, CA 94104                       Stearns Weaver Miller Weissler
 Telephone: (415) 693-0700                     Alhadeff & Sitterson, P.A.
 jzahid@zelle.com                              150 West Flagler Street, Suite 2200
 ebuetzow@zelle.com                            Miami, Florida 33130
                                               Tel: 305.789.3200
 James R. Martin                               Fax: 305.789.3395
 Jennifer Duncan Hackett                       Email: jshapiro@stearnsweaver.com
 ZELLE LLP                                             spatmore@stearnsweaver.com
 1775 Pennsylvania Avenue, NW,                         ccanino@stearnsweaver.com
 Suite 375                                              acorbett@stearnsweaver.com
 Washington, D.C. 20006
 Telephone: (202) 899-4100                     Marvin A. Miller
 jmartin@zelle.com                             Matthew E. Van Tine
 jhackett@zelle.com                            Andrew Szot
                                               Miller Law LLC
 Attorneys for Plaintiff El Pollo Loco, Inc.   115 S. LaSalle Street, Suite 2910
                                               Chicago, IL 60603
                                               Tel: 312.332.3400
                                               Fax: 312.676.2676

942613.3                                       6
 Case: 1:16-cv-08637 Document #: 3890 Filed: 10/19/20 Page 7 of 8 PageID #:262730




                                               Email: mmiller@millerlawllc.com
                                               mvantine@millerlawllc.com
                                               aszot@millerlawllc.com

                                               Attorneys for Plaintiff Independent Purchasing
                                               Cooperative, Inc.


  /s/ Lori P. Lustrin                          /s/ David B. Esau
 Robert W. Turken                              David B. Esau
 Lori P. Lustrin                               Kristin A. Gore
 Scott N. Wagner                               Amanda R. Jesteadt
 BILZIN SUMBERG BAENA PRICE &                  Stephen A. Cohen
 AXELROD LLP                                   Casey R. McGowan
 1450 Brickell Ave., Suite 2300                Amy M. Bowers
 Miami, Florida 33131-3456                     CARLTON FIELDS, P.A.
 Telephone: 305-374-7580                       525 Okeechobee Boulevard, Suite 1200
 Facsimile: 305-374-7593                       West Palm Beach, Florida 33401
 rturken@bilzin.com                            Tel: (561) 659-7070
 llustrin@bilzin.com                           Fax: (561) 659-7368
 swagner@bilzin.com                            desau@carltonfields.com
                                               kgore@carltonfields.com
 Attorneys for Direct Action Plaintiffs        ajesteadt@carltonfields.com
 Boston Market and Smokey Bones                scohen@carltonfields.com
                                               cmcgowan@calrtonfields.com
                                               abowers@carltonfields.com

                                               Attorneys for Plaintiffs Checkers Drive-In
                                               Restaurants Inc.; Restaurants of America, Inc.;
                                               Gibson, Greco & Wood, Ltd; Bob Evans
                                               Farms, Inc.; The Fresh Market, Inc.; and
                                               Wawa, Inc.

 /s/ Patrick J. Ahern                          /s/ David Germaine
 Patrick J. Ahern                              Paul E. Slater
 Theodore B. Bell                              Joseph M. Vanek
 Ahern & Associates, P.C.                      David P. Germaine
 Willoughby Tower                              John P. Bjork
 8 South Michigan Avenue                       SPERLING & SLATER, P.C.
 Suite 3600                                    55 West Monroe Street, Suite 3200
 Chicago, Illinois 60603                       Chicago, Illinois 60603
 Phone: (312) 404-3760                         Tel: (312) 641-3200
 patrick.ahern@ahernandassociatespc.com        Fax: (312) 641-6492
                                               PES@Sperling-law.com
 Attorneys for Plaintiffs Winn-Dixie Stores,   JVanek@Sperling-law.com
 Inc. and Bi-Lo Holdings, LLC                  DGermaine@Sperling-law.com

942613.3                                       7
 Case: 1:16-cv-08637 Document #: 3890 Filed: 10/19/20 Page 8 of 8 PageID #:262731




                                        JBjork@Sperling-law.com

                                        Attorneys for Plaintiff OSI Restaurant
                                        Partners, LLC

 /s/ Brandon Floch                      /s/ Philip J. Iovieno
 William J. Blechman                    Philip J. Iovieno
 Douglas Patton                         Anne M. Nardacci
 Kevin Murray                           Ryan T. McAllister
 Michael Ponzoli                        Mark A. Singer
 Samuel Randall                         BOIES SCHILLER FLEXNER LLP
 Brandon Floch                          30 South Pearl Street
 KENNY NACHWALTER, P.A.                 Albany, NY 12207
 1441 Brickell Avenue                   Tel: (518) 434-0600
 Suite 1100                             Fax: (518) 434-0665
 Miami, FL 33131                        piovieno@bsfllp.com
 Tel: (305) 373-1000                    anardacci@bsfllp.com
 Fax: (305) 372-1861                    rmcallister@bsfllp.com
 Email: bfloch@knpa.com                 msinger@bsfllp.com

 Attorneys for Hy-Vee, Inc.             Nicholas A. Gravante, Jr.
                                        BOIES SCHILLER FLEXNER LLP
                                        55 Hudson Yards
                                        New York, NY 10001
                                        Tel: (212) 446-2300
                                        Fax: (212) 446-2350
                                        ngravante@bsfllp.com

                                        Terence H. Campbell
                                        COTSIRILOS, TIGHE, STREICKER,
                                        POULOS & CAMPBELL, LTD.
                                        33 North Dearborn Street
                                        Suite 600
                                        Chicago, IL 60602
                                        Tel: (312) 263-0345
                                        Fax: (312) 263-4670
                                        tcampbell@cotsiriloslaw.com

                                        Attorneys for Plaintiff BJ’s Wholesale Club,
                                        Inc.




942613.3                                8
